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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                          Plaintiff,
                                                Civil Action No. 1:20-cv-03590 (JEB)
              v.
                                                       PUBLIC VERSION
META PLATFORMS, INC.

                          Defendant.




 Plaintiff Federal Trade Commission’s Bench Brief Regarding Post-Discovery Evidence
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       The Court should follow the practice of the last three courts trying major monopolization

cases brought by the government: the Court should base its liability determination on the

discovery record and give no weight to the testimony of Meta’s executives or experts regarding

data and information that has never been produced in this litigation. Infra § I. That the FTC

brings its case under Section 13(b) of the FTC Act does not call for any different approach; the

other government cases alleged ongoing monopolies and sought forward-looking injunctive

relief, yet the courts still used evidentiary cutoffs that mirrored discovery deadlines. Infra § III.

       Deviating from the standard approach is particularly unwarranted here given the nature of

the evidence and manner in which Meta seeks to introduce post-discovery evidence. Infra § II.

Testimony from Meta’s executives regarding the content of non-produced data is unreliable and

violates Federal Rule of Evidence 1002 and is prohibited by Federal Rule of Civil Procedure

37(e). Infra § II.A. And its inclusion at trial unfairly prejudices the FTC. Infra § II.B.

                                           ARGUMENT

       The FTC must show in the liability phase that Meta’s acquisitions contributed to the

maintenance of monopoly power. The FTC has done so: evidence adduced during the discovery

period, and the credible testimony of witnesses, shows that (1) consumers can—and in large

numbers actually do—rely on Meta’s services for friends and family sharing; (2) the only other

services that provide reasonable friends-and-family-sharing alternatives are insufficient to

restrain Meta’s monopoly power; and (3) Meta’s acquisitions of Instagram and WhatsApp

contributed to the maintenance of its power. The trial evidence similarly shows that Facebook

and Instagram continue to be apps anchored in friends and family sharing, and that apps outside

the relevant market—including TikTok, YouTube, Pinterest, and others—are not reasonable

substitutes for the friends-and-family social networking experience provided by Meta. See, e.g.,



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Trial Tr. (Professor Lampe) at 79:3-82:23, 164:24-165:10, 179:10-180:11 (April 23, 2025); Trial

Tr. (Presser) at 51:1-22 (April 30, 2025); Trial Tr. (Filner) at 164:14-20, 174:7-14, 185:3-18,

(April 17, 2025); Trial Tr. (Roberts) at 187:1-3, (April 28, 2025).

       In response, Meta has elicited testimony from its own executives focusing on supposed

data from recent months. Presumably Meta will argue that this supposed data indicates that at

the present moment: (1) no market exists for personal social networking (PSN) services in the

United States; or/and (2) other services provide consumers with a reasonable alternative for PSN

services to a sufficient extent that Meta no longer possesses a dominant share of the relevant

market.

       As detailed below, for purposes of the liability phase, the Court should follow the

standard approach of limiting evidence to the discovery period. The Court should ignore

entirely, or at least heavily discount, Meta’s witnesses’ claims regarding supposed evidence that

has never been produced and has been generated well after the discovery cutoff. If the Court

finds Meta liable, then the parties and the Court can address more recent evidence, as relevant,

during the remedies phase—after an opportunity for appropriate, balanced discovery.

I.     Courts Adjudicating Monopoly Maintenance Claims Routinely Assess Liability
       Based on Evidence Through the End of Discovery and Exclude or Disregard
       Selective Evidence of Supposed Recent Changes

       The Supreme Court long ago recognized that “[t]erminal points are necessary even in a []

trial involving intricate business facts and legal issues.” United States v. Socony-Vacuum Oil

Co., 310 U.S. 150, 230 (1940). For this reason, courts regularly employ evidentiary cut-offs

when determining liability in antitrust cases seeking injunctive relief, including claims of

ongoing monopoly maintenance. Most notably, in assessing whether a Section 2 defendant was

“still today” a monopolist, courts in three recent major government cases relied on evidence



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through the close of discovery and excluded or gave little weight to purported “up to the minute”

evidence of changed conditions.

       First, and most recently, in a monopolization case involving Google’s advertising

technology business, Judge Brinkema imposed strict limits on the introduction of evidence post-

dating fact discovery. In that case, the court set a fact discovery deadline of September 8, 2023,

and an expert discovery deadline of January 12, 2024. See Scheduling Order ¶¶ 1-2, United

States v. Google LLC, No. 23-cv-108 (E.D. Va. March 31, 2023), ECF No. 94(“Google Ad

Tech”). At trial in September 2024, the defense sought to elicit testimony about events occurring

on August 8, 2024, using a document that was not in evidence because it post-dated fact

discovery. See Ex. A (Trial Tr. at 89:9-90:7, Google Ad Tech, No. 23-cv-108 (E.D. Va. Sept. 20,

2024), ECF No. 1360). The court directed defense counsel to limit her questioning to “before

September 2023, which was the fact discovery cutoff.” See id. at 91:3-9. In the court’s framing,

evidence regarding post-discovery events would be “going to remedies versus liability.” Id. at

91: 24-25. Just last month, the court found Google liable for ongoing monopolization, relying on

evidence from the discovery record. E.g., Google Ad Tech, No. 23-cv-108, 2025 WL 1132012

(E.D. Va. Apr. 17, 2025).

       Second, in this District, in the monopolization case involving Google’s search engine,

Judge Mehta ordered an evidentiary cut-off date of June 17, 2022—notwithstanding that the

court would be determining in 2024 whether Google currently has an unlawful monopoly. See

Order Regarding Prod. Deadline, Mot. to Compel Deadline, and Evidentiary Cut-Off Date at 3,

United States v. Google LLC, No. 20-cv-03010 (D.D.C. May 25, 2022), ECF No. 357 (“Google

Search”). The court explained its reasoning for imposing that cutoff (initially set for May 6,

2022), and the limited exceptions that might be tolerated:



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       So I think bottom line is this. I think we are all in agreement that the record cut-off, if
       you will, is the end of fact discovery, documents that pre-exist the record -- the fact
       discovery date of May the 6th [2022], that’s our record. . . . [I]f there are things that
       happened, and, undoubtedly, those are, I think, the kind of things you all are conceding
       are likely to be public -- publicly known and public events, you know, we’ll just have to
       see what they are and whether they’re the kind of thing that ultimately are going to be
       relevant and worth bringing to my attention at trial, okay?

See Ex. B (Status Conference Tr. at 31:18-32:16, Google Search, No. 20-cv-3010 (D.D.C. May

12, 2022), ECF No. 353). The court later extended that deadline to June 17, 2022. Order

Regarding Produc. Deadline, Mot. to Compel Deadline, and Evidentiary Cut-Off Date at 3,

Google Search, No. 20-cv-3010, (D.D.C. May 10, 2024), ECF No. 357. On August 5, 2024, the

court ruled that Google does have an unlawful monopoly, relying principally on evidence from

2022 and earlier. See Google Search, 747 F. Supp. 3d 1 (D.D.C. 2024).

       Third, and similarly, in FTC v. Qualcomm, Judge Koh enforced an evidentiary cut-off

even though the court set a single trial for both liability and remedy and excluded defendant’s

post-discovery evidence because “[b]y necessity, the evidence at trial will never be fully up-to-

date following the cutoff for discovery.” See Ex. C (Order Den. Qualcomm’s Req. to Introduce

Evid. of Post-Disc. Events at 6-10, FTC v. Qualcomm Inc., No. 17-CV-00220-LHK (N.D. Cal.

Dec. 13, 2018), ECF No. 997). The court observed that “the discovery required to test

Qualcomm’s assertions regarding evidence of post-discovery events would have to include

documents and testimony from multiple Qualcomm custodians . . . as well as document and

deposition discovery from third parties.” Id. at 8 (cleaned up). Because it was too late for

balanced discovery to occur (as it is here), the court excluded the evidence. Id. at 8-10.




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II.     The Court Should Exclude or Give Little Weight to Meta’s Testimony Regarding
        Recent Data or Information Not Produced During Discovery

        A. The Court should exclude or disregard undisclosed, post-discovery evidence
           because it is unreliable and prohibited by the Federal Rules

        This Court should follow the approach of Google Search, Google Ad Tech, and

Qualcomm, and focus its liability determination on evidence up through the discovery period.

This Court has held that Meta may introduce certain evidence related to the discrete public event

of the TikTok ban. See Order, FTC v. Meta Platforms, Inc., No. 20-3590 (D.D.C. April 2, 2025),

ECF No. 503. 1 But the Court did not suggest, and should not now hold, that this exception

swallowed the general rule and grants Meta an unlimited license to inject unreliable testimony

regarding non-produced data that has nothing to do with that event.

        Testimony regarding Meta’s undisclosed, post-discovery evidence should be excluded or

disregarded because it is fundamentally unreliable due to Meta’s refusal to produce the

underlying data.




        1
          For avoidance of doubt, the FTC maintains its objections to such evidence, as set forth in Mot. to Exclude
Untimely and Cherry-Picked Evid., FTC v. Meta Platforms, Inc., No. 20-3590 (D.D.C. Mar. 18, 2025), ECF No.
428 and FTC’s Reply to Meta’s Opp. to Mot. to Exclude Untimely and Cherry-Picked Evid., FTC v. Meta
Platforms, Inc., No. 20-3590 (D.D.C. Mar. 23, 2025), ECF No. 463.

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       Notwithstanding Meta’s continued refusal to produce data from July 1, 2022 through the

present, Meta appears to be attempting to selectively prove, through live testimony, the contents

of Meta’s unproduced data. This effort violates Federal Rule of Evidence 1002. Under Rule

1002, if Meta wishes to prove the contents of data, it must produce the data and admit it into

evidence; its witnesses “cannot just relay what” the data supposedly contains. Jean-Baptiste v.

Booz Allen Hamilton, Inc., No. 1:22-CV-01499 (TNM), 2024 WL 3551941, at *4 (D.D.C. July

26, 2024) (citing Jeffries v. Barr, 965 F.3d 843, 850 n.1 (D.C. Cir. 2020), aff’d, No. 24-7110,

2025 WL 32979 (D.C. Cir. Jan. 6, 2025); see also Fed. R. Evid. 1001 (defining “writing” to

include “numbers . . . set down in any form”).

       The unreliability of Meta’s attempts to elicit live testimony on unproduced data is

compounded by Meta’s use of “illustrative aids” that purport to summarize said data. For

example, Meta prompted Dr. Cobb’s testimony through an “illustrative aid” purporting to show

user sentiment statistics through 2025, even though none of the supposed data underlying those

“illustrative aids” has ever been produced or introduced into evidence. Dr. Cobb testified that

his information was drawn from reading the “illustrative aid” itself, and not from his personal

knowledge. See Trial Tr. (Cobb) at 39:16-41:2, 46:16-47:23 (May 1, 2025) (“Q From this

demonstrative, can you tell us what Facebook’s RCAU was, say, at the end of 2024, what

percentile? A It looks like it’s somewhere around 25. Q And do you happen to know the same

number for Instagram? A I would have to look that up. On 16/7, it was hovering around 27.”).

Thus, the illustrative aid was used to prompt testimony that was not within the witness’s personal



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knowledge, and the FTC has no ability to contradict the testimony, because the underlying data

has never been produced. Similarly, Meta presented Mr. Olivan with an “illustrative aid”

purporting to show Instagram’s monthly active users from the close of fact discovery through

2025 and attempted to elicit testimony reciting the numbers that appeared in those “illustrative

aids.” After being asked “What does this demonstrative show about the extent to which

Instagram grew after 2018?”, Mr. Olivan testified that he didn’t actually know the numbers for

the United States, but—referring to the supposed illustrative aid—testified “this one is roughly

right.” See Trial Tr. (Olivan) at 189:8-190:21 (Apr. 29, 2025); see also Trial Tr. (Systrom) at

235:4-237:18 (Apr. 22, 2025) (Despite being prompted with a supposed illustrative aid that

Meta’s counsel claimed represented “a graph of monthly active users,” Mr. Systrom testified he

did not know how many MAUs Instagram had in recent years). See also Fed. R. Evid. 602 (need

for personal knowledge).

       Other Meta “illustrative aids” that Meta has disclosed, despite refusing to produce the

underlying data, are similarly situated. For Mr. Mosseri, Meta disclosed “illustrative aids”

including

                                                                                           . For

Mr. Schultz,




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       None of these “illustrative aids” are proper because their “utility in assisting

comprehension” is “substantially outweigh[ed] by the danger of unfair prejudice” or “confusing

the issues.” Fed. R. Evid. 107. Witnesses’ testimony prompted by the supposed illustrative aids

violates Fed. R. Evid. 1002, and the Court should ignore it.

       More generally, the Court should exclude or ignore Meta’s efforts to backdoor through

trial testimony information that has not been subject to the ordinary discovery process, because it

will produce testimony that is simply unreliable. One prominent example illustrates the problem:

Mr. Zuckerberg testified on the first day of trial that he had seen data that “impressions from

friend content on stories” represented approximately 25% of stories impressions on Facebook.

Trial Tr. at 185:2-5 (Apr. 14, 2025) (“I’m not sure if I have the most recent stat on this, but I saw

-- I think I saw one recently that the number of impressions or the percent of impressions from

friend content on stories is -- about a quarter of them are from friends.”); see also 186:8-10. The

next morning, the FTC was able to show that Meta’s recent data—according to Meta’s own

expert—shows that friend content represents 68% of impressions on Facebook stories, and not

25% as Mr. Zuckerberg testified. Trial Tr. at 6:4-8:6 (Apr. 15, 2025). If Prof. Carlton had not

happened to produce data contradicting Mr. Zuckerberg’s testimony, the Court would have been

left with the mistaken impression that only about one quarter of impressions on Facebook stories

originate from friends. See Trial Tr. at 185:2-5 (Apr. 14, 2025). The potential consequences of

basing a liability determination on such unreliable evidence are plain.

       In numerous other circumstances, because Meta has refused to disclose relevant data,

Meta has blocked the FTC’s ability to probe through discovery recent data and testimony that

might relate to that data, ensure the data’s accuracy, compare different time horizons for that

data, or even confirm whether Meta is cherry-picking or manipulating data to skew the record.



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See United States v. Gen. Dynamics Corp., 415 U.S. 486, 504-05 (1974) (recognizing the

“extremely limited” value of evidence created while a lawsuit was “threatened or pending.”);

Chicago Bridge & Iron Co. N.V. v. FTC, 534 F. 3d 410, 434-35 (5th Cir. 2008) (evidence that

“could arguably be subject to manipulation” should be accorded little or no weight).

       Unsurprisingly, the practical reasons to close discovery recognized by Google Ad Tech,

Google Search, and Qualcomm, are confirmed by relevant rules prohibiting Meta’s conduct.

Rule 37(c)(1) specifically directs that “[i]f a party fails to provide information … as required by

Rule 26(a) or (e) … the party is not allowed to use that information … at a trial, unless the

failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1) (emphasis added).

Here, Meta unquestionably failed to “supplement” its responses to requests for production as

required by Rule 26(e), which prohibits the introduction of that data at trial. Nor is Meta’s

failure excused because the evidence post-dated discovery, as Meta had the opportunity to

attempt to supplement its data productions “in a timely manner” and chose not to do so. Fed. R.

Civ. P. 26(e), 37(c)(1).

       B. Meta’s post-discovery, undisclosed evidence should be excluded or disregarded
          because it fundamentally prejudices the FTC

       In addition, Meta’s unproduced and post-discovery evidence should be excluded under

Federal Rule of Evidence 403. “The purpose of a discovery cutoff date is to protect the parties

from a continuing burden of producing evidence and to assure them adequate time to prepare

immediately before trial.” Los Angeles News Serv. v. CBS Broad., Inc., 305 F. 3d 924, 933-34

(9th Cir. 2002). Meta’s evidence not only postdates discovery but was not produced at all. The

probative value of unproduced data is significantly outweighed by the unfair prejudice to the

FTC of conducting a trial based on out-of-time evidence available to only one party. See, e.g.,

Smith v. Henderson, 54 F. Supp. 3d 58, 66 (D.D.C. 2014) (“‘eleventh-hour’” evidence harms the


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opposing party because the party “‘would effectively be deprived of the opportunity’” to depose

witnesses about the new facts and “would also have to unexpectedly gather rebuttal evidence at a

moment’s notice, which could cause substantial harm” to the party’s case) (quoting United States

ex rel. Purcell v. MWI Corp., 824 F. Supp. 2d 12, 19 (D.D.C. 2011)). The baseline requirements

of the Rules of Evidence dictate that the Court should exclude even relevant evidence if its

probative value is substantially outweighed by a danger of unfair prejudice to the other side.

Fed. R. Evid. 401, 402, 403; see United States v. Ausby, 436 F. Supp. 3d 134, 153 (D.D.C. 2019).

Accordingly, while the Court may grant case-by-case exceptions for good cause, it should as a

general matter exclude testimony regarding unproduced data under Rules of Evidence 401, 402,

and 403. See Ausby, 436 F. Supp. 3d at 153.

        Meta’s attempts to belatedly and selectively rely on unproduced data and information that

Meta has refused to make available to the FTC subverts the basic principle that “[m]utual

knowledge of all the relevant facts gathered by both parties is essential to proper litigation.”

Hickman v. Taylor, 329 U.S. 495, 507 (1947); FTC v. Sysco Corp., 308 F.R.D. 19, 21-22

(D.D.C. 2015) (parties must “exchange information relevant to their dispute before a trial” to

avoid a “trial by ambush.”); id. (litigation “is not a game of ‘blind man’s bluff,’ but ‘a fair

contest with the basic issues and facts disclosed to the fullest practicable extent’” (quoting

United States v. Procter & Gamble Co., 356 U.S. 677, 682-83 (1958)). Having refused to

produce data and information pursuant to an orderly discovery process, Meta should not now be

allowed to reverse course and selectively refer to unproduced data.

III.    Section 13(b) Does Not Provide a Basis for Admitting Post-Discovery Evidence
        Outside of the Remedy Phase

        As the Google Ad Tech court noted, to the extent that a defendant is asserting that its

monopoly power has been or is being eroded given recent events, the remedies phase allows for


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an assessment of such forward-looking questions. In this case, the remedies phase will also

provide an opportunity for balanced discovery into as-yet unproduced data; if Meta’s recent data

or other evidence is relevant, the Court can consider it during the remedies phase. Indeed, the

D.C. Circuit has recognized the “enormous practical difficulties” inherent in managing complex

antitrust cases involving technology markets and has endorsed using the remedies phase “to

update and flesh out the available information” on market conditions. United States v. Microsoft

Corp., 253 F.3d 34, 49 (D.C. Cir. 2001); see United States v. W.T. Grant Co., 345 U.S. 629, 633

(1953) (noting that “the court’s power to grant injunctive relief survives discontinuance of the

illegal conduct”).

       That this case is brought under Section 13(b) of the FTC Act does not change the time

period relevant to a liability determination or the nature of the Court’s antitrust inquiry. The

question before the Court at the liability phase is whether Meta has violated the antitrust laws as

alleged in the Amended Complaint. That inquiry is the same whether the monopolization case is

brought by the FTC pursuant to Section 13(b), or by the Department of Justice pursuant to its

authorizing statutes. Compare FTC v. Surescripts, LLC, 665 F. Supp. 3d 14, 34-35 (D.D.C.

2023) (describing liability standard for Sherman Act Section 2 monopolization), with Microsoft,

253 F.3d at 50 (describing same standard). If the Court finds Meta liable, then the Court will

determine in a subsequent remedies phase whether and what injunctive relief is warranted.

Scheduling Order at 2. That is the appropriate time to update the Court about recent market

conditions before the Court decides what remedy to order. Microsoft, 253 F.3d at 50.




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       This Court held at the motion to dismiss stage that Section 13(b) requires the FTC to

allege that Meta “is violating” or “is about to violate” the antitrust laws. 2 FTC v. Facebook, Inc.,

560 F. Supp. 3d 1, 11, 26-27 (D.D.C. 2021); FTC v. Facebook, Inc., 581 F. Supp. 3d 34, 42, 58-

59 (D.D.C. 2022). But that language sets forth a pleading standard—not an additional

substantive element the FTC must prove at trial. FTC v. Shire ViroPharma, Inc., 917 F.3d 147

(3d Cir. 2019), held that the “is violating” and “is about to violate” language lays out a

“threshold requirement” that applies at the time the FTC brings suit. Id. at 157-58. The Shire

court contrasted that “pleading requirement,” “which is applied right out of the gate,” with the

usual legal standard for “whether to grant or deny injunctive relief,” “which a court uses to

determine the FTC’s entitlement to an injunction.” Id. at 157-58. Shire thus acknowledged that

the “is” or “is about to” language in Section 13(b) has no independent role to play at the merits

stage. See id.

       The Third Circuit confirmed exactly that in FTC v. AbbVie Inc., 976 F. 3d 327, 381 (3d

Cir. 2020). AbbVie rejected the defendants’ argument that the FTC must show defendants “are

violating” or “are about to violate” the antitrust laws in order to obtain an injunction. Id.

Instead, the correct standard at that stage is the usual equitable one—which permits injunctive

relief even for violations entirely in the past if the plaintiff can show they are likely to recur. See

id.; see also W.T. Grant Co., 345 U.S. at 633. Courts consistently apply that traditional

standard—not any distinct “is” or “is about to” requirement—in deciding Section 13(b) cases.

See, e.g., FTC v. Accusearch, Inc., 570 F. 3d 1187, 1201-02 (10th Cir. 2009); FTC v. Shkreli,




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         The FTC preserves its prior arguments about the proper interpretation of Section 13(b).
See Pl. FTC’s Mem. of Law In Opp. to Def. Facebook, Inc.’s Mot. to Dismiss at 39-41, ECF No.
59 (Apr. 7, 2021); Pl. FTC’s Mem. of Law In Opp. to Def. Facebook, Inc.’s Mot. to Dismiss Am.
Compl. at 36-38 (Nov. 17, 2021), ECF No. 85.
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581 F. Supp. 3d 579, 638 (S.D.N.Y. 2022) (Cote, J.), aff’d, No. 22-728, 2024 WL 1026010 (2d

Cir. Jan. 23, 2024). That is consistent with Section 13(b), which provides that “after proper

proof, the court may issue[] a permanent injunction.” 15 U.S.C. § 53(b). Section 13(b)’s

language thus does not alter the Court’s fundamental task or provide any basis for allowing late-

in-time evidence.

                                         CONCLUSION

       The FTC has alleged and is showing at trial that Meta currently holds an unlawful

monopoly in the relevant market. See, e.g., Substitute Am. Compl. ¶¶ 105, 127, 164, 218 (Sept.

8, 2021), ECF. No. 82. But this does not mean that Meta is entitled to continue injecting new

evidence into the proceedings, no matter how late in the trial or how prejudicial to the FTC. As a

matter of civil procedure, fundamental fairness, and simple logic, the FTC cannot be forced to

prove up-to-the-minute market conditions in a complex antitrust case spanning a 13-year period

continuing through trial. Common sense limits must apply. For the foregoing reasons, the Court

should exclude or give little weight to Meta’s late injection of selective testimony and purported

new data and information.




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Dated:   May 9, 2025             Respectfully submitted,

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